          Case 1:14-cr-00186-RDB Document 360 Filed 09/22/16 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                              *

        v.                                            *            Criminal Action No. RDB-14-0186

RICHARD BYRD,                                         *

        Defendant.                                    *

*        *         *        *        *         *          *         *        *         *        *         *

                                    MEMORANDUM ORDER

        Presently pending before this Court is Movant William C. Bond’s September 21, 2016

letter to this Court, styled as a “Notice to the Court” and Movant’s “Fifth Motion to

Intervene” (ECF No. 358), in which Mr. Bond renews his objection to this Court’s sealing of

portions of the record in the above-captioned case.1

        There are portions of the record in this case which remain SEALED.

        A considerable portion of the record in this case remains sealed. This Court is

mindful of the public’s right of access to judicial proceedings. Doe v. Pub. Citizen, 749 F.3d

246-265 (4th Cir. 2014). The Court has weighed the competing interests in this matter. See

Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d 178, 181-82 (4th Cir. 1998); See also Va. Dept. of

State Police v. Wash. Post, 386 F.3d 567-576 (4th Cir. 2004). Having conducted this review, the

portion of the record under seal in this case shall REMAIN SEALED.

        Accordingly, IT IS HEREBY ORDERED this 22nd day of September, 2016 that the

Pending Motion (ECF No. 358) is DENIED.

1 Additionally, via email (ECF No. 359), Mr. Bond has requested that this Court “take two additional acts not
stated” in the pending Motion (ECF No. 358). Any requested action by this Court shall also be DENIED
within the parameter of this Order.

                                                     1
        Case 1:14-cr-00186-RDB Document 360 Filed 09/22/16 Page 2 of 2



       The Movant Bond is free to seek review of this Memorandum Order by the United

States Court of Appeals for the Fourth Circuit, which has noted that “[m]andamus, not

appeal, is the preferred method of review” for orders restricting access to criminal

proceedings. Baltimore Sun Co. v. Goetz, 886 F.2d 60, 63 (4th Cir. 1989) (internal quotation

marks omitted).

                                                 /s/
                                          Richard D. Bennett
                                          United States District Judge




                                             2
